           Case 14-13436-CMG                           Doc 104       Filed 02/22/18 Entered 02/22/18 16:43:05                              Desc Main
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Office Mailing Address:                                                                                                                  Send Payments ONLY to:
Albert Russo, Trustee                                                                                                                       Albert Russo, Trustee
CN 4853                                                                                                                                              PO Box 933
Trenton, NJ 08650                                                                                                                        Memphis, TN 38101-0933

                                              OFFICE OF THE STANDING CHAPTER 13 TRUSTEE
                                                        REPORT OF RECEIPTS AND DISBURSEMENTS
                                                       Activity for the period from 01/01/2017 to 02/17/2018
                                                                Chapter 13 Case No. 14-13436 / CMG




          Gary W Morrison                                                                                                          Petition Filed Date: 02/27/2014
          Michele Morrison                                                                                                         341 Hearing Date: 06/05/2014
          543A North Main Street
                                                                                                                                   Confirmation Date: 12/17/2014
          Stewartsville NJ 08886


                                                                    Case Status: Open / Confirmed
                                             RECEIPTS / PAYMENT HISTORY FOR THE TIME PERIOD SELECTED

 Date                        Amount        Check No.         Date                     Amount      Check No.          Date                  Amount      Check No.

 01/10/2017                 $930.00        36196930     -    02/13/2017               $930.00     37106250    -       03/10/2017          $930.00      37839240     -
 04/19/2017                 $930.00        38924350     -    06/01/2017               $930.00     40053710    -       07/05/2017          $930.00      40985590     -
 08/07/2017                 $930.00        41840840          09/20/2017               $930.00     42963010            10/26/2017          $930.00      43906910
 10/30/2017                 $930.00        43909860          11/30/2017               $930.00     44704810            12/21/2017          $930.00      45331570
 01/16/2018                 $930.00        45874650

                     Total Receipts for the Period: $12,090.00 Amount Refunded to Debtor Since Filing: $0.00 Total Receipts Since Filing: $40,920.00


                                             DISTRIBUTIONS TO CREDITORS FOR THE TIME PERIOD SELECTED

                                                                      CLAIMS AND DISTRIBUTIONS
Claim #                           Claimant Name                                  Class                        Claim Amount          Amount Paid            Balance Due

     0        Gary W Morrison                                         Debtor Refund                                    $0.00              $0.00                    $0.00
     0        ERIC L LEINBACH, ESQ                                    Attorney Fees                                    $0.00              $0.00                    $0.00
     1        DISCOVER BANK                                           Unsecured Creditors                          $8,432.68          $2,022.86              $6,409.82
     2        DISCOVER BANK                                           Unsecured Creditors                          $5,236.02          $1,256.05              $3,979.97
     3        CAPITAL ONE BANK (USA), N.A.                            Unsecured Creditors                         $16,259.49          $3,900.39             $12,359.10
     4        Sallie Mae Dept of Ed Svcg                              Unsecured Creditors                              $0.00              $0.00                    $0.00
              »» STUDENT LOAN
     5        SALLIE MAE                                              Unsecured Creditors                              $0.00              $0.00                    $0.00
              »» STUDENT LOAN
     6        SALLIE MAE                                              Unsecured Creditors                              $0.00              $0.00                    $0.00
              »» STUDENT LOAN
     7        McDonnell Crowley, LLC                                  Other Administrative Fees                    $8,000.00          $8,000.00                    $0.00
     8        PNC BANK                                                Unsecured Creditors                          $2,988.37            $716.86              $2,271.51
     9        PNC BANK                                                Unsecured Creditors                         $10,921.04          $2,619.78              $8,301.26
    10        WELLS FARGO BANK, NA                                    Mortgage Arrears                             $1,692.69          $1,692.69                    $0.00
              »» P/543 A-B NORTH MAIN/1ST MTG
     0        ERIC LEINBACH                                           Attorney Fees                                $1,028.53          $1,028.53                    $0.00
              »» ATTY DISCL
     0        ERIC LEINBACH                                           Attorney Fees                               $16,605.47         $16,605.47                    $0.00
              »» ORDER 1/9/15




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Chapter 13 Case No. 14-13436 / CMG
                                                                     SUMMARY




          Summary of all receipts and disbursements from date filed through 2/17/2018:

                   Total Receipts:                $40,920.00                  Plan Balance:              $14,880.00 **
                   Paid to Claims:                $37,842.63                  Current Monthly Payment:      $930.00
                   Paid to Trustee:                $2,207.82                  Arrearages:                  $930.00
                   Funds on Hand:                    $869.55                  Total Plan Base:           $55,800.00


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              more information.

          •    View your case information online for FREE! Register today at www.ndc.org.



          **This is an approximate balance. Additional allowed claims and other variables may affect the
          amount to complete the plan.




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